
 The People of the State of New York,
againstMark Pollard, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Julio Rodriguez III, J., at plea; Armando Montano, J., at sentencing), rendered January 29, 2016, convicting him, upon his plea of guilty, of assault in the third degree, and sentencing him to 60 days in jail, three years' probation, and a full and final order of protection.




Per Curiam.
Judgment of conviction (Julio Rodriguez III, J., at plea; Armando Montano, J., at sentencing), rendered January 29, 2016, affirmed. 
Defendant has already served his jail sentence, rendering his harsh and excessive claim moot to that extent (see People v Buskey, 62 AD3d 1164, 1165 [2009]; People v La Motte, 285 AD2d 814, 817 [2001]). Defendant's remaining challenges to his bargained-for sentence are unpersuasive. "Ordinarily ... where defendant effects a plea bargain and receives the precise sentence that was promised, he should not later be heard to complain that he received what he bargained for" (People v Fair, 33 AD3d 558, 558 [2006], lv denied 8 NY3d 945 [2007], quoting People v Chambers, 123 AD2d 270, 270 [1986]). Given the violent and serious nature of the charged conduct, and the absence of extraordinary circumstances, it cannot be said that the sentence imposed was either harsh or excessive (see People v Higgins, 19 AD3d 877 [2005], lv denied 5 NY3d 828 [2005]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: September 15, 2017










